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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                       (Northern Division)


 THE NATIONAL FEDERATION OF THE
 BLIND, ET AL.,

                Plaintiffs,

         v.                                                  Civil Action No. 1:18-cv-01568-TDC

 U.S. DEPARTMENT OF EDUCATION,
 ET AL.,

                Defendants.



                                     NOTICE OF ERRATA
        PLEASE TAKE NOTICE that Plaintiffs, by their undersigned counsel, submits the
following Notice of Errata regarding its Motion to File Supplemental Complaint ECF [30],
originally filed on November 20, 2018.
        Due to an inadvertent error, on Page 2, Paragraph 1, it is stated that Counsel did not respond
by the time of filing. That statement should be corrected to state that Defendants’ consent was not
required.


                                                  Respectfully submitted,

Dated: November 20, 2018                                     /s/
                                                  Eve L. Hill (Fed. Bar No. 19938)
                                                  Brooke E. Lierman (Fed. Bar No. 17879)
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                                                  Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of November 2018, I electronically filed the foregoing
Notice of Errata using the CM/ECF system. I certify that all participants in the case are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.

                                                                /s/
                                                  Eve L. Hill (Fed. Bar No. 19938)
